      Case 1:18-cr-00108-EAW-HKS Document 24 Filed 10/29/18 Page 1 of 6



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________

UNITED STATES OF AMERICA,

      -vs-

FRANK GIACOBBE, PATRICK OGIONY,                                18-CR-108
KEVIN MORGAN, and TODD MORGAN,

                       Defendants.
_________________________________

                                   AFFIDAVIT
STATE OF NEW YORK:
COUNTY OF MONROE:          ss.

      DAVID ROTHENBERG, being duly sworn, deposes and says:

      1.     I am an attorney admitted to practice before the United States District

Court for the Western District of New York.

      2.     I am a principal in the firm of Rothenberg Law, counsel for defendant

Todd Morgan.

      3.     I submit this affidavit in response to the court’s request that the defense

report to the court regarding the status of document discovery.

      4.     All counsel appeared before the court on August 6, 2018 for status

conference. (The undersigned was permitted to appear by telephone.)

      5.     The court had previously ordered the government to produce all discovery

by July 27, 2018.

      6.     When the government failed to comply with the court’s discovery deadline

and requested an additional 120 days to complete document discovery, the court

scheduled the August 6 status conference.
        Case 1:18-cr-00108-EAW-HKS Document 24 Filed 10/29/18 Page 2 of 6



        7.    When all counsel appeared before the court on August 6, the court entered

a new order for the production of all discovery materials.

        8.    First, the court ordered the government to disclose pre-warrant material

(any material that had been obtained by the government prior to the execution of search

warrants on May 14, 2018) on or before August 24, 2018.

        9.    Although there were technical deficiencies in that production, the

government did disclose pre-warrant materials prior to that date.

        10.   Secondly, the court ordered the government to complete processing of the

search warrant discovery by September 28, 2018, and to disclose all materials seized

pursuant to warrants that had been executed on May 14, 2018, on or before October 12,

2018.

        11.   The court stated the following on the record: “I’m going to require the

government to turn over the search warrant data that the defendants are entitled to no

later than October 12, 2018.” (Transcript of Proceedings on August 6, 2018 (“Tr.”) at

32.)

        12.   The court further directed the defense to report to the court what it had

received, so that the court and counsel could discuss a new scheduling order when

everyone next appeared before the court on October 31, 2018.

        13.   This affidavit is filed in response to the court’s request for a report

regarding the status of document discovery as of this date.

        14.   In short, although the government has produced a further collection of

documents as of October 12, 2018, it has not completed document production as

required by the court.




                                            -2-
      Case 1:18-cr-00108-EAW-HKS Document 24 Filed 10/29/18 Page 3 of 6



       15.     In fact, there remain an enormous number of documents and other

electronic data that has not been produced. Nor can the government provide the defense

with any fixed deadline as to when it will produce such remaining material.

       16.     On October 12, 2018, the government produced 552,880 digital

documents, consisting of 77.46 gigabytes (GB) of data. That production, however, was

technically deficient.

       17.     For example, no custodian metadata was produced, so that the defense

cannot identify the source of documents that were produced. Furthermore, date field

metadata is missing from many of the documents produced, such as spreadsheets, word

documents, and even calendar entries. Clearly, the defense cannot make sense of a word

document or calendar entry that fails to contain relevant dates.

       18.     Third, the government’s document production does not include

approximately 80,000 emails that were seized on May 14, 2018, but are under review by

the government’s filter team for privilege and relevance.

       19.     The defense notes that when the court ordered the government to

complete document processing by September 28, and disclosure by October 12, the

court specifically ordered that such review include review for privilege and relevancy

(see Tr. at 32).

       20.     The defense believes that, in ordering such review and disclosure prior to

October 12, the court relied in part on the government’s representations that the process

of digitizing the search warrant material was “very nearly complete” (Tr. 22) as of the

August 6 status conference.




                                           -3-
      Case 1:18-cr-00108-EAW-HKS Document 24 Filed 10/29/18 Page 4 of 6



       21.    In addition, the government represented that it had 10 people working on

this task, and had further requested a team of “twenty agents for a defined period to

help with that.” (Tr. 26).

       22.    Nevertheless, notwithstanding the court’s prior orders, there remain at

least 80,000 emails that need to be disclosed to the defense.

       23.    Fourth, and even more significantly, almost all of the disclosure to date

has only been from the main computers seized from the premises of Morgan

Management on May 14, 2018. Several other computers were seized on that date, and

the defense has received virtually no disclosure of any materials from these additional

computers.

       24.    For example, we have not received any of the documents that were stored

on defendant Todd Morgan’s laptop computer. Considering that the government

specifically named Todd Morgan as a defendant in this case, the defense respectfully

submits that the entire contents of his computer should have been the very first items

reviewed, formatted, and disclosed to the defense.

       25.    Nor has the defense received any material from two computers seized from

the office of Robert Morgan—a desktop computer and a laptop computer.

       26.    The court noted on August 6 that the defendants in this case may very well

have standing to claim entitlement to any of the records seized from Morgan

Management, insofar as they worked for that company; and further noted that these

additional documents found on other seized computers may very well contain

exculpatory material (Tr. 17).

       27.    On last Friday, October 26, the defense received a flash drive containing

36 GB of data; upon information and belief, this flash drive contains documents that

                                           -4-
      Case 1:18-cr-00108-EAW-HKS Document 24 Filed 10/29/18 Page 5 of 6



were found on the laptop of defendant Kevin Morgan. However, our vendor has advised

us that it is presently uploading that information to determine precisely what was

produced, where it was located, and the details of the production.

       28.    It is our understanding, however, that documents from Todd Morgan’s

laptop computer have not been produced, nor have we received documents that were

located on the two additional devices found in Robert Morgan’s office.

       29.    Without the ability to review the contents of Todd Morgan’s computer, nor

the 80,000 emails currently under review by the government for privilege and

relevancy, there is no way the defense can begin to review this enormous volume of

documents in any meaningful way.

       30.    For example, if the defense were to search for emails between Kevin

Morgan and the other named co-defendants, the defense would not recover all

responsive emails, and any such searches would only have to be repeated once the

government eventually completed document disclosure.

       31.    The government’s inability to comply with this court’s scheduling order

confirms the court’s suspicions that were stated on the record during the August 6

conference: namely, that the indictment in this case was returned prematurely.

       32.    There is no escaping the conclusion that the government rushed to indict

this case when it really was not ready. Certainly, the government was not ready for trial,

if it has taken over five months to disclosure documents that had been seized prior to

the indictment, and despite the passage of over five months, has still not disclosed all

discoverable materials.




                                           -5-
      Case 1:18-cr-00108-EAW-HKS Document 24 Filed 10/29/18 Page 6 of 6



       33.     In conclusion, the defense respectfully requests that the court enter a

schedule for one specific motion; in particular, the defense requests scheduling for a

motion to dismiss the instant indictment for failure to comply with this Court’s

schedule.

                                               s/David Rothenberg
                                              David Rothenberg, Esq.
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Sworn to before me on the
29th day of October 2018.

       s/Beverly G. Evans
            BEVERLY G. EVANS
    Notary Public in the State of New York
              Monroe County
      Commission Expires 10.30.2022




                                             -6-
